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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 NASSER AL-AULAQI,

                Plaintiff,

                          v.
                                                       No. 10-cv-
 BARACK H. OBAMA, et al.,

                Defendants.



                   DECLARATION OF DR. NASSER AL-AULAQI

       I, Dr. Nasser Al-Aulaqi, pursuant to 28 U.S.C. § 1746, declare as follows:

       1.      I am the Plaintiff in the above-captioned case. I act on my own behalf and as

next friend to my son, Anwar Al-Aulaqi, a citizen of the United States.

       2.      I am a citizen of Yemen and reside in Yemen with my wife, an American

citizen, and my family.

       3.      I came to the United States in 1966 on a Fulbright scholarship to study at

New Mexico State University. I lived in the United States for the next 12 years, until 1978,

when my family and I moved back to Yemen. After returning to Yemen, I served as

Minister of Agriculture and Fisheries in the Government of Yemen. I later founded and

served as president of Ibb University and then served as president of Sana’a University. I

am currently a Professor of Economics at Sana’a University.

       4.      My son Anwar was born in the United States in 1971 in New Mexico during

my studies there. He went back to the United States in 1991 when he was ready to go to

college. He received his bachelor’s degree from Colorado State University, went on to
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obtain his master’s degree from San Diego State University, and later enrolled in a Ph.D.

program at George Washington University, which he attended through December 2001. He

married and had three children while living in the United States. In 2003, he moved to the

United Kingdom and, in 2004, he moved to Yemen.

        5.      It is my understanding that my son has been authorized for killing by the

United States and is actively being targeted by the CIA and the U.S. military.

        6.      I learned of the United States’ authorization to kill my son through numerous

news reports of U.S. officials stating that he has been added to government “kill lists.” I

have also heard and read statements from U.S. officials referring to my son as a threat to the

United States and confirming that he is being pursued. In January 2010, after published

reports of my son’s addition to the U.S. military’s kill list, I wrote a letter to President

Obama asking him to cease the targeting of my son.

        7.      News reports have indicated that the United States has deployed armed

drones over Yemen, ready to attack my son “at a moment’s notice” if the military receives

credible intelligence about his whereabouts. I myself have seen these drones flying

overhead in Yemen. The media has reported that my son has already been the subject of

several unsuccessful strikes.

        8.      My son is currently in hiding in Yemen. He has been in hiding continuously

since at least January 2010, when the United States’ intention to kill him became clear.

        9.      Since the time my son went into hiding, neither I nor any of my family

members have had any contact or communication with him. Anyone attempting to meet or

communicate with him would place his or her life and safety in jeopardy because of my

son’s targeting by the United States.




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        10.     Because the U.S. government is seeking to kill my son, as reported, he

cannot access legal assistance or a court without risking his life.

        11.     As Anwar’s father, I only want to do what is in his best interests. I believe

taking legal action to stop the United States from killing him is in his best interests.

        I declare under penalty of perjury under the laws of the United States that the

foregoing is true and correct.

        Executed on August 28, 2010


                                                         Dr. Nasser Al-Aulaqi




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